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                      UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF PENNSYLVANIA


In re                                      :   Chapter   13

                                           :
Jacqueline Heather Miller
                                           :

                     Debtor                :   Bankruptcy No. 20-11318JKF


                                       ORDER


             AND NOW, it is ORDERED that since the debtor(s) have failed to

timely file the documents required by the order dated 3/2/2020 and 3/24/2020, this case

is hereby DISMISSED.



 Date: April 13, 2020
                                               Jean K. FitzSimon
                                               United States Bankruptcy Judge


Missing Documents:          Chapter 13 Plan
                            Certificate of Credit Counseling
                            Matrix
                            Schedules A-J
                            Summary of Statistical Liabilities B106
                            Waiver of Exigent Circumstances
                            Statement of Current Monthly Income B122C-1
                            Means Test Calculation B122C-2
                            Statement of Financial Affairs




bfmisdoc
